                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


STATE OF ILLINOIS,

                  Plaintiff,
                                            Case No. 17-cv-6260
            v.
                                            Hon. Robert M. Dow Jr.
CITY OF CHICAGO,

                  Defendant.


           PLAINTIFF’S RESPONSE IN SUPPORT OF THE COALITION’S
                MOTION TO ENFORCE THE CONSENT DECREE




Date: June 11, 2021                       KWAME RAOUL
                                          Attorney General of Illinois

                                          Christopher G. Wells
                                          Chief, Public Interest Division
                                          Amy Meek
                                          Bureau Chief, Civil Rights Bureau
                                          Mary Grieb
                                          Deputy Bureau Chief, Civil Rights Bureau
                                          Stefanie L. Steines
                                          Senior Assistant Attorney General
                                          Hannah Y. Jurowicz
                                          Aaron P. Wenzloff
                                          Assistant Attorneys General
                                          Office of the Illinois Attorney General
                                          100 W. Randolph St.
                                          Chicago, IL 60601
                                              INTRODUCTION

        The Coalition’s motion to enforce the Consent Decree describes a disturbing pattern of

search warrant incidents where Chicago police officers unreasonably pointed firearms at children;

unreasonably handcuffed them; forced adults and children to stand naked or partially dressed;

forced children to sit outside in the cold and rain without coats or to lie face down for lengthy

periods; cursed at children; used flashbang grenades in homes with young children; broke down

doors without allowing the occupants to voluntarily comply with an order to open the door;

interrogated children without providing a Juvenile Miranda Warning; and failed to record their

law enforcement activities on body-worn cameras until the end of the incident. ECF No. 702,

Consent Decree (“Consent Decree”).

        The City of Chicago (“City”) argues that this Court lacks the power to address these serious

allegations because the term “search warrant” does not appear in the Consent Decree. This

simplistic argument is wrong; it inverts the scope of the Consent Decree in derogation of the

Decree’s expansive terms. The Decree does not exhaustively list every law enforcement activity

or specific location where its reforms apply. Rather, by design, the Consent Decree mandates broad

reforms across the Chicago Police Department (“CPD”)—for all officers, for all law enforcement

activities, in all contexts—except where the Decree expressly states otherwise.1 Just as the Decree

does not contain the terms “traffic stop” or “protest,” but surely applies in those contexts, likewise,

there are no exceptions for search warrant incidents.

        This Court has the power to enforce the Consent Decree’s provisions addressing officer

misconduct in all contexts, including the execution of search warrants. In all circumstances, the



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  See, e.g., Consent Decree, ¶ 15(c) (requiring the review of crime reduction strategies for consistency with the
principles of community policing, but “excluding operational strategies that are determined on a day-to-day or short
term basis”) (emphasis added).

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Consent Decree requires CPD officers to treat people with respect, see Consent Decree, ¶¶ 54, 156,

346(c); not use derogatory language, id. at ¶ 54; not unreasonably apply handcuffs to children, id.

at ¶ 36; not unreasonably point firearms at people, id. at ¶ 189; allow individuals to voluntarily

comply with lawful orders whenever safe and feasible, id. at ¶ 162; give Juvenile Miranda

Warnings before custodial interrogations of children, id. at ¶ 35; only use force when it is

objectively reasonable, necessary, and proportional, id. at ¶ 164; and record their law enforcement

related activities until the conclusion of every incident, id. at ¶ 238.

         The connection between these provisions and CPD’s search warrant practices is not

hypothetical. The final version of the Consent Decree included requirements regarding firearm-

pointing only after a high-profile media report in August 2018 described CPD officers pointing

firearms at children during the execution of a faulty search warrant.2 Now, the City asks to

retroactively narrow the scope of these bargained-for provisions by misreading an exception into

the Consent Decree that does not exist. The City’s argument is wrong and must be rejected.

         Finally, the City also misstates the law of remedies under consent decrees, which gives

federal courts the equitable power to construct flexible remedies to ensure the terms of a consent

decree are followed. The Office of the Attorney General (“OAG”) therefore respectfully requests

that the Court: (1) hold that officers’ conduct during the execution of search warrants is not

categorically exempt from the Consent Decree; (2) order CPD to submit its search warrant policy

and related trainings for review under Paragraphs 627 and 641 of the Consent Decree within seven



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  Dave Savini, CPD Officers Raid Wrong Home, Point Guns at 9-Year-Old Boy; ‘My Life Flashed Before My Eyes,’
CBS2 Chicago (Aug. 14, 2018), https://chicago.cbslocal.com/2018/08/14/chicago-police-cpd-raid-wrong-home-
point-guns-at-9-year-old-boy-peter-mendez/. See also ECF No. 98 at ¶¶ 5–8 (noting that the parties publicly released
a draft consent decree on July 27, 2018, but requesting a partial lift of the stay of proceedings to allow the parties to
litigate “whether CPD officers should be required to record instances in which they point a firearm at a person”) (filed
Aug. 29, 2018); ECF No. 101 at ¶ 3 (requesting reinstatement of stay because the parties “have reached agreement on
the issue of whether CPD will require officers to record instances in which they point a firearm at a person”) (filed
Sept. 5, 2018).

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days after entering this order; and (3) exercise its inherent discretion to order the Coalition, the

parties, and the Independent Monitoring Team (“IMT”) to engage in structured settlement

negotiations regarding CPD’s latest search warrant policy.

                                        BACKGROUND

       On August 5, 2020, the Coalition sent the City a pre-enforcement notice to meet and confer

to resolve its concerns about CPD officers violating a range of Consent Decree paragraphs in the

context of executing search warrants on residential homes, including: unreasonably pointing

firearms at children; unreasonably handcuffing children or their parents; breaking down doors

without knocking or less than thirty seconds after knocking; using flashbang grenades where young

children were present; engaging in unreasonable uses of force; cursing at occupants of homes being

searched; wrongly forcing people to stand naked or in the rain without coats, or lie face down;

interrogating children without first notifying a parent or guardian or administering a juvenile

Miranda warning; and other conduct in violation of CPD policies and Consent Decree

requirements related to procedural justice, de-escalation, use of force, community policing, and

impartial policing. ECF No. 924, Coalition’s Motion to Enforce the Consent Decree (“Mot.”) at

23 (citing ECF No. 924-2 (the “Coalition Letter”)); see also Consent Decree, ¶¶ 695, 709.

       On September 25, 2020, the OAG sent a letter echoing the Coalition’s concerns and

recounting its own attempts to ask CPD to address policies and trainings occurring in the context

of search warrant executions—particularly those involving disturbing interactions with children

and youth. Mot. at 23 (citing the “OAG Letter,” ECF No. 924-3 at 1–2). The OAG Letter identified

dozens of Consent Decree paragraphs implicated by the incidents described in the Coalition’s

Letter and in news reports about botched home raids. ECF No. 924-3 at 1–4. The OAG Letter

further requested the City meet with the Coalition, IMT, and OAG to resolve these issues. Id. at 4.



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         The City essentially ignored both letters. See Mot. at 23. Over the following months, the

Coalition repeatedly orally requested a substantive response, and on December 16, 2020, the

Coalition sent the City a written request for a firm date by which it would respond. Mot. at 23–34

(citing ECF No. 924-4). In the face of continued silence, on January 13, 2021, the Coalition filed

its motion to enforce the Consent Decree. ECF No. 924. The Coalition requests that this Court

“immediately convene a structured settlement process” to address CPD’s search warrant policies,

training, and practices. Id. at 5.

         On March 3, 2021, CPD released a revised draft of its search warrant policy and posted the

draft for public comment. ECF No. 933, 933-1. Both the OAG and the IMT submitted comments

on the draft policy, and CPD received hundreds of public comments.3 Finally, on May 14, 2021,

CPD released a revised, interim search warrant policy.4 The revised policy failed to incorporate

the majority of the IMT’s and the OAG’s recommendations.

                                             LEGAL STANDARD

         “From the standpoint of interpretation, a consent decree is a contract, but from the

standpoint of remedy it is an equitable decree.” Cook v. City of Chicago, 192 F.3d 693, 695 (7th

Cir. 1999) (Posner, J.). The threshold issue of the Coalition’s motion is therefore a question of law:

whether the Consent Decree’s terms apply to police conduct during search warrants. If the Consent

Decree applies, then the Court must determine whether, as the Coalition’s motion alleges, CPD’s

conduct violates the Consent Decree—a question of fact the City seeks leave to develop after the




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  See Exhibit 1, OAG Comments on Draft Policy; Exhibit 2, IMT Comments on Draft Policy; Exhibit 3, CPD Response
to FOIA Request for Public Comments (redacted by OAG to remove names). The IMT’s written comments pertained
to CPD’s publicly released draft policy and are therefore not subject to Paragraph 672 of the Consent Decree,
regardless of whether the Court accepts the City’s position that the Consent Decree is inapplicable to search warrants.
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  See Exhibit 4, Special Order S04-19: Search Warrants (eff. May 28, 2021).

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scope is settled.5 ECF No. 932, Resp. in Opp. to the Coalition’s Motion to Enforce the Consent

Decree (“Opp.”) at 8, n.1. The Court has the power to issue supplemental orders to determine

whether a violation has occurred. See, e.g., United States v. City of Northlake, Ill., 942 F.2d 1164,

1170 (7th Cir. 1991) (remanding to order discovery on whether a police department’s oral

interview process violated consent decree against discriminatory hiring, even though “oral

interviews” were not explicitly referenced in the agreement). Finally, if the Court finds that CPD’s

conduct may be violating the Consent Decree, the Court has discretion to fashion an equitable

remedy and grant the Coalition’s requested relief in a supplemental order. Cook, 192 F.3d at 695.

        As a consent decree is “essentially a contract for purposes of construction,” principles of

state contract law apply in a dispute regarding its scope. Northlake, 942 F.2d at 1167. Under Illinois

law, the “primary objective in construing a contract is to give effect to the intent of the parties,

which is best shown by the language of the contract itself.” Sterling Nat'l Bank v. Block, 984 F.3d

1210, 1217 (7th Cir. 2021) (cleaned up). “All portions of a contract should be construed as a whole,

viewing each part in light of the others.” Id. (cleaned up). Accordingly, courts should “give

meaning to every provision of the contract and avoid rendering any provisions superfluous.” Id.

                                             ARGUMENT

I.      The misconduct by CPD officers described in the Coalition’s motion is within
        the scope of the Consent Decree.

        This Court has authority to order the parties to attempt to resolve the Coalition’s and

OAG’s concerns under Paragraphs 695 and 709 because the conduct at issue violates specific

provisions of the Consent Decree. The Consent Decree’s broad requirements neither carve out

particular law enforcement activities, nor waive compliance obligations based on the specific


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  The OAG believes that the Coalition’s motion provides sufficient evidence to show that CPD’s practices are
inconsistent with numerous Consent Decree requirements and respectfully requests leave to address any new
arguments, facts, or evidence that the City may present on the issue.

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context of the activity. Rather, by design, the Consent Decree’s relevant provisions are applicable

to all law enforcement activities, in all contexts. See, e.g., Consent Decree, ¶¶ 37(d), 156, 161. If

the Consent Decree’s relevant requirements were “intended to have limited effect, it could easily

have said so”—it did not. Brobst v. Columbus Servs. Int'l, 761 F.2d 148, 152–53 (3d Cir. 1985)

(district court erred in summarily dismissing enforcement claim as outside consent decree’s scope

where the agreement used a broadly applicable term with no limiting language). The City’s

cramped construction of the Consent Decree impermissibly attempts to impose an exemption for

a specific category of law enforcement activity that has no basis in the text.

       A.      How officers conduct themselves when executing search warrants is
               within the scope of the Consent Decree.

       Under the Consent Decree, the City has committed to ensuring that CPD serves “all of the

people of Chicago in a manner that fully complies with the Constitution and laws of the United

States and the State of Illinois, respects the rights of all of the people of Chicago, builds trust

between officers and the communities they serve, and promotes community and officer safety.”

Consent Decree, ¶ 6. To achieve this purpose, the Consent Decree’s explicit requirements for use

of force, interactions with children, impartial policing, procedural justice, supervision,

accountability, and data collection apply to all police conduct, regardless of where it occurs.

       The Coalition’s motion (see Mot. at 8–18) details disturbing examples of police conduct

that violate substantive requirements of the Consent Decree, including the paragraphs below:

   •   treating people with respect (¶¶ 54, 156, 346(c));
   •   not using derogatory language or intentionally denigrating an individual (¶ 54);
   •   not unreasonably handcuffing children (¶ 36);
   •   giving Juvenile Miranda Warnings before interrogating children (¶ 35);
   •   interacting with children in a developmentally appropriate manner (¶¶ 32, 37(d));
   •   providing reasonable accommodations to individuals with disabilities (¶ 68);
   •   not unreasonably pointing firearms at people (¶ 189);
   •   allowing individuals to voluntarily comply with lawful orders whenever safe and
       feasible (¶¶ 153, 156, 162);

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    •   using de-escalation and time as a tactic to prevent or reduce the need for force
        whenever safe and feasible (¶¶ 153, 156, 161–62);
    •   using objectively reasonable, necessary, and proportional force (¶¶ 153, 156, 164);
    •   recording law-enforcement activities until the conclusion of every incident (¶ 238);
    •   truthfully and completely reporting all reportable instances of force (¶ 156(h));
    •   promptly identifying and responding to unreasonable or unnecessary force (¶ 153);
    •   collecting, tracking, and maintaining use of force and misconduct data to promote
        accountability and transparency and to assess whether CPD policies, training,
        tactics, and practices meet the goals of the Consent Decree, reflect best practices,
        and prevent or reduce the need to use force (¶¶ 153, 157, 568–69).6

        The court’s “primary objective” in construing these requirements must be “to give effect

to the intent of the parties . . . shown by the language of the contract itself.” Block, 984 F.3d at

1217 (cleaned up). These substantive obligations must also be understood in the context of the

Consent Decree’s express goals and guiding principles. See Consent Decree ¶ 757 (requiring

same). For example, Paragraphs 157–59 require that CPD review and revise its policies, training,

tactics, and practices to “meet the goals of [the Consent Decree], reflect best practices, and prevent

or reduce the need to use force.” Similarly, Paragraphs 272(c), 272(h) and 319 require CPD to

create a training plan and develop and implement training curricula that “fulfill” and “comport

with” the “goals of [the Consent Decree].”

        The Coalition and the OAG have the right to seek enforcement where “the City and CPD

have failed to comply with any provision of this Agreement.” Id. at ¶ 694 (emphasis added). The

Coalition’s enforcement motion identifies material provisions (see, e.g., ¶¶ 32, 37(d), 156, 161,

238–39) that must be interpreted in the context of the Consent Decree’s goals and guiding

principles (see, e.g., ¶¶ 6, 420, 423). Mot. at 8–10. The Coalition’s motion identifies conduct that

conflicts with these provisions. Furthermore, as the City notes, “the scope of a consent decree must

be discerned within its four corners, and not by reference to what might satisfy the purposes of one



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 To illustrate the express language of these requirements, and aid in the review of their scope, the OAG has attached
as Exhibit 5 the text of these paragraphs.

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of the parties to it.” Opp. at 2 (citations omitted). “Like any document, a consent decree must be

read as a whole.” All. to End Repression v. City of Chicago, 742 F.2d 1007, 1011 (7th Cir. 1984).

           For example, the Consent Decree requires that “CPD’s use of force policies and training,

supervision, and accountability systems will be designed, implemented, and maintained” to ensure

that officers “act at all times” in a manner that respects the “sanctity of human life” and “with a

high degree of ethics, professionalism, and respect for the public.” Consent Decree, ¶ 156. The

plain meaning of “at all times” is clear: there is no exclusion for when officers execute search

warrants. See, e.g., Brobst, 761 F.2d at 152 (district court erred in ruling that consent decree was

inapplicable where, by its terms, it applied to “any establishment” at which employer operated).

           Likewise, CPD’s failure to properly safeguard children from trauma during home raids, as

detailed in the motion (Mot. at 8, 11–16), is squarely subject to Consent Decree Paragraphs 32 and

37(d), which require CPD to review and revise its policies and training to provide officers with

developmentally appropriate responses to interactions with children. Again, there is no exception

for when police traumatize children in their own homes in the course of executing a search warrant.

           CPD’s wrongful raid of the Mendez home, which occurred in 2017 and the details of which

were publicly reported as the parties were finalizing the Consent Decree in August 2018, provides

a stark illustration of conduct that clashes with the Consent Decree’s requirements. Officers broke

into the family’s home without knocking or attempting to allow them to voluntarily comply with

orders, unreasonably pointed their firearms at a kindergartener and a nine-year-old, and screamed

profanities. Mot. at 13.7 Despite learning they were in the wrong home, officers continued the

search, rifling through toys and clothes while the children cried and pleaded for officers not to kill

their handcuffed father laying prone on the floor. Id. An officer involved later claimed that he



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    See also Savini supra note 2.

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lacked the resources and training to ensure that the search warrant was carried out correctly.8 The

Consent Decree prohibits all of this conduct: unreasonably pointing firearms, failing to allow

voluntary compliance, screaming profanities, traumatizing children, and providing insufficient

training. See, e.g., Consent Decree, ¶¶ 32, 37, 54, 56, 72, 153, 156, 162, 246.

        The Consent Decree’s mandated trainings will instruct officers to avoid such

abuses. See id. at 32, 37(d), 72, 188, 243, 245–46, 275. In particular, Paragraphs 72 and 275 of the

Consent Decree require CPD to revise its trainings on “Fourth Amendment subjects”—which

necessarily include search warrant incidents—to integrate concepts of impartial policing,

procedural justice, de-escalation, and community policing. See Kentucky v. King, 563 U.S. 452,

459 (2011) (a “basic principle of Fourth Amendment law” is the warrant requirement for searches

and seizures inside a home) (cleaned up). Because such trainings must be submitted for review

and approval by the OAG and the IMT, see Consent Decree, ¶ 641, the IMT and the OAG have

already reviewed and commented on at least one of CPD’s Fourth Amendment courses. ECF No.

942, IMR-3 Report at 145.

        In sum, because the identified Consent Decree provisions direct CPD officers’ conduct in

all law enforcement activities, CPD’s search warrant policies, training, and practices are also

within the Decree’s purview and must be submitted for review under Paragraphs 627 and 641.

        B.      The City’s simplistic approach is contrary to contract interpretation
                principles and would lead to absurd results.

        The City’s reliance on the lack of explicit reference to “home raids” or “search warrants”

in the Consent Decree is misplaced and contrary to law. Courts have rejected attempts to apply a

blinkered approach to narrow a negotiated consent decree’s purpose and language. In United States


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 See Dave Savini, Chicago Police Officers Reveal Major Missteps As They’re Questioned on Video For Lawsuit
About Raiding Wrong Home, CBS2 Chicago (Oct. 3, 2019), https://chicago.cbslocal.com/2019/10/03/chicago-
police-officers-questioned-on-video-for-lawsuit-about-raiding-wrong-home/.

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v. City of Northlake, Ill., 942 F.2d 1164, 1165 (7th Cir. 1991), the Seventh Circuit reversed and

remanded the district court’s denial of an enforcement motion. Because that consent decree was

entered into to “achieve broadly the goal of fair and non-discriminatory hiring in municipal

employment,” the “government’s challenge to the oral interview procedures used in testing police

applicants [fell] entirely and comfortably within the scope of the consent decree,” even though the

context of oral interviews was not specifically mentioned in the decree. Id. at 1168.

       Similarly, in Flores v. Barr, 934 F.3d 910 (9th Cir. 2019), the Ninth Circuit held that the

district court’s enforcement order did not modify the consent decree, despite the government’s

argument that the consent decree made “no mention of [specific] words.” 934 F.3d at 913–15

(“emphatically disagree[ing]” with the appellant’s “cramped understanding” of the consent

decree). There, the district court required the Department of Homeland Security to hold minors in

“safe and sanitary” facilities and to treat minors with “dignity, respect, and special concern.” Id. at

911. Based on these broad provisions, the court ordered Border Patrol to provide minors with soap,

towels, showers, dry clothes, toothbrushes, and adequate sleeping conditions, even though the

consent decree did not include those specific terms. Id. at 913–14. The Ninth Circuit rejected the

argument that the enforcement order improperly modified consent decree. Id. at 916.

       The recent interpretation of the scope of the Seattle Police Department’s consent decree is

also instructive. In United States v. City of Seattle, 2019 WL 2191871 (W.D. Wash. May 21, 2019),

the district court held that, “although the Consent Decree contains no explicit mandate concerning

the arbitration process,” “any provision that implicates officer discipline related to use-of-force

inherently implicates all three of the Consent Decree’s purposes,” which are to ensure that police

services are delivered in a manner that “(1) fully complies with the Constitution and laws of the

United States, (2) ensures public and officer safety, and (3) promotes public confidence in the SPD



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and its officers.” Id. at *3. As the court explained, arguing that the enforcement was outside the

scope of the Consent Decree just because it “did not expressly mandate changes to…specific

terms…misapprehends” the disputed process’s “intersection with the Consent Decree[.]” Id.

       Ignoring what is in the Consent Decree, the City focuses exclusively on what is not. The

City’s entire argument depends on the observation that the words “search warrant” or “home raid”

do not appear in the text. Opp. at 1–2. This tunnel vision tactic ignores well-established law

requiring courts to construe contracts as a whole, would lead to absurd results, and would

undermine the enforcement rights provided under Paragraphs 695 and 709 of the Consent Decree.

Block, 984 F.3d at 1217 (“All portions of a contract should be construed as a whole, viewing each

part in light of the others” to “avoid rendering any provisions superfluous”) (cleaned up). CPD’s

conduct in executing search warrants implicates numerous, substantive provisions of the Consent

Decree. For that reason, the Coalition’s enforcement motion is properly before this Court, and the

City’s hyper-textual attempt to limit the scope of the Consent Decree is contrary to the law.

       Additionally, the City’s strained interpretation would lead to absurd results. The Consent

Decree does not contain the words “protest,” “alleyway,” or “traffic stop.” but it would be absurd

to argue Consent Decree mandates do not apply in those contexts. Notably, the City has already

implicitly acknowledged that the Consent Decree grants the IMT authority to investigate police

conduct during the 2020 summer protests even though the words “protest” and “civil unrest”

appear nowhere in the text of the Consent Decree. See ECF No. 839 (“Since the May 25, 2020

tragic death of George Floyd…Chicago is experiencing a rise in First Amendment activity, civil

unrest, and related law enforcement activities that span issues covered by the Consent Decree.”)

(emphasis added).

       Indeed, CPD’s latest search warrant policy belies the pretense that Consent Decree



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requirements are wholly inapplicable in the search warrant context. For example, Section II

explicitly adopts several Consent Decree goals and requirements as core principles, Section IX

invokes the Consent Decree’s requirement on handcuffing juveniles nearly verbatim, and the body-

worn camera requirements closely tie to Paragraphs 236–239 of the Consent Decree.9

         Finally, a ruling that search warrants are categorically excluded from the scope of the

Consent Decree would invite additional litigation. ECF No. 1, Compl. ¶2; Consent Decree, ¶ 5. As

the Seventh Circuit has warned, to make a party “file a new lawsuit to remedy allegedly illegal

conduct already embraced by a consent decree would serve as a disincentive to civil rights

plaintiffs contemplating whether or not to enter into such a decree.” Northlake, 942 F.2d at 1168.

It would also “undermine[] the purpose of a consent decree in the first instance—namely, to avoid

protracted litigation by entering into a court-supervised agreement that resolves the dispute…and

guarantees the viability of the agreement under the watchful eye of the judge[.]” Id. Requiring a

new suit to apply the Consent Decree’s reforms in the context of search warrants would frustrate

the broad purpose and related requirements of the Decree, undermine the Court’s enforcement

authority, and discourage civil rights plaintiffs from entering into consent decrees in the future.

         The City’s categorical carveout of police conduct while searching people’s homes lacks

any basis in the four corners of the Consent Decree and would lead to absurd results that threaten

the very purpose of the Consent Decree. Just as in Northlake, Flores, and Seattle, this Court should

reject the City’s cramped interpretation of the Consent Decree.




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  See Exhibit 4, Special Order S04-19, at Sec. II.A-B (requiring officers to act in accordance with the Constitution,
including the Fourth Amendment, and comply with the law; use de-escalation to prevent or reduce the need for force;
and treat all persons with dignity and respect); id. at Sec. IX.E.3.b (incorporating the Consent Decree requirement
that, when determining whether to handcuff juveniles, “officers will consider the totality of the circumstances,
including, but not limited to, the nature of the incident and the juvenile’s age, physical size, actions, and conduct . . .
and whether such restraints are necessary to provide for the safety of the juvenile, the officer, or others”); compare id.
at Sec. IX.E.3.b with Consent Decree ¶ 36; see also id. at Sec. IC.C.2 (implicating Consent Decree, ¶¶ 236–39).

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II.     The Court has broad discretion to enforce the Consent Decree through its
        equitable powers.

        A.      The Coalition’s requested relief comports with the Consent Decree’s
                enforcement provisions and is within the Court’s equitable discretion.

        The Court has broad discretion to order the parties to make a good faith effort to discuss

and resolve the concerns raised in the Coalition’s motion—a reasonable pre-enforcement step

anticipated in Paragraph 695 of the Consent Decree. In line with Paragraph 695, the Court need

not rule now on whether any Consent Decree violations have occurred, but may continue this fact-

intensive question until after the parties, the Coalition, and the IMT have met and conferred and

submitted a report to the Court on their progress.

        As the Supreme Court has held, where “a right and a violation have been shown, the scope

of a district court’s equitable powers to remedy past wrongs is broad, for breadth and flexibility

are inherent in equitable remedies.” Swann v. Charlotte-Mecklenburg Bd. of Educ., 402 U.S. 1, 15

(1971); see also Kansas v. Nebraska, 574 U.S. 445, 455 (2015) (courts “may invoke equitable

principles, so long as consistent with the [negotiated agreement] itself, to devise fair…solutions to

the [parties’] disputes and provide effective relief for their violations”) (cleaned up). Accordingly,

the Seventh Circuit has held that if a consent decree “is violated, the injured party must ask the

court for an equitable remedy.” Cook, 192 F.3d at 695. The “remedy might be a contempt judgment,

but more commonly…is a supplementary order…designed to make the party whole for [its] loss.”

Id. (internal citations omitted).

        Courts are well within their authority to impose equitable remedies and direct parties to

strive for compliance with negotiated consent decrees. For example, in Northlake, the Seventh

Circuit remanded for discovery and a hearing on whether the municipality’s oral interview criteria

for police applicants violated the consent decree, even though the consent decree did not contain



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an admission of liability. Northlake, 942 F.2d at 1165. Recently in Seattle, when the district court

found the City of Seattle out of compliance with the negotiated consent decree’s accountability

provisions, it used its equitable discretion to require the parties, with assistance from the Monitor

and Community Police Commission, to formulate a methodology for assessing accountability and

submit a plan for how the City might achieve compliance. Seattle, 2019 WL 2191871, at *1, 7.

       While parties are free to “cabin the district court’s equitable discretion by stipulating the

remedies for breach,” when the “decree does not specify the consequences of a breach,” the

remedies are “referred to the district court’s equitable discretion.” Cook, 192 F.3d at 698. Here, the

parties did not cabin the Court’s ability to fashion equitable remedies, and the City cites no

authority for its contention that the Court’s enforcement powers are strictly limited. Opp. at 4–5.

To the contrary, Paragraphs 629–31, 694–95, and 709 provide for enforcement through the Court,

but do not restrict the potential remedies.

       In sum, this Court should exercise its enforcement discretion to grant the Coalition’s

modest request for a structured settlement process and, consistent with Paragraph 695, order the

parties to attempt to resolve the concerns about the numerous Consent Decree requirements raised

in the Coalition’s motion. Far from straying from “the spirit or purpose of the Consent Decree,”

Opp. at 4, this resolution is within this Court’s equitable discretion and would conform with

Paragraph 695’s requirement of good faith negotiations.

       B.      The Court should require CPD to submit its search warrant policies
               and trainings for review under Paragraphs 627 and 641.

       At a minimum, CPD should be required to submit its search warrant policy and related

trainings to the IMT and OAG for review and comment under Paragraphs 627 and 641, just as it

has been doing for over two years with other policies and trainings concerning a variety of law




                                                 14
enforcement activities that have touchpoints with the Consent Decree.10 Absent such a review, and

judicial oversight, the same problems with search warrants will likely recur,11 considering that

CPD recently rejected over 75% of the recommendations that the IMT and OAG submitted during

CPD’s public comment period for its search warrant policy, including recommendations that would

have ensured the policy was consistent with the Consent Decree.12

         The time to address concerns about these troubling practices is now. See Duran v. Elrod,

760 F.2d 756, 759 (7th Cir. 1985) (“When an equity decree affects other people besides the parties

to it, the judge must take account of the interest of those people—the public interest—in his

decision whether to grant or deny equitable relief.”).

                                                  CONCLUSION

         The OAG respectfully requests that the Court: (1) hold that officers’ conduct during the

execution of search warrants is not categorically exempt from the Consent Decree; (2) order CPD

to submit its search warrant policy and related trainings for review under Paragraphs 627 and 641

of the Consent Decree within seven days after entering this order; and (3) exercise its inherent

discretion to order the Coalition, the parties, and the IMT to engage in structured settlement

negotiations regarding CPD’s latest search warrant policy.




10
   CPD has submitted several such policies and trainings to the IMT and OAG under Paragraphs 627 or 641. For
example, CPD submitted General Order G02-02, “First Amendment Rights” for review and comment because it was
related to Paragraph 163 (a prohibition against the use of force solely for retaliation against First Amendment activity),
even though the policy governed topics much broader than the use of force during First Amendment activity. CPD
also submitted training related to the Fourth Amendment because it implicated Paragraphs 72, 275, and 320–323.
Similarly, CPD submitted a “Motor Vehicle Pursuits and Eluding Vehicle Incidents” training bulletin because it
implicated Paragraph 167 (requirement for periodic instruction regarding sound or dangerous vehicle maneuvers),
even though “vehicle maneuvers” was only one topic the bulletin covered.
11
   See Dave Savini, Chicago Police ‘Community Safety Team’ Accused of Botched Raid After Officials Promised
Reforms, CBS2 Chicago (May 26, 2021) (describing a wrong home raid occurring on March 14, 2021),
https://chicago.cbslocal.com/2021/05/26/chicago-police-community-safety-team-accused-of-botched-raid-after-
officials-promised-reforms.
12
   See Exhibit 1, OAG Comments on Draft Policy; Exhibit 2, IMT Comments on Draft Policy.

                                                           15
Date: June 11, 2021    Respectfully submitted,

                       By: /s/ Hannah Jurowicz         a
                          /s/ Aaron Wenzloff           a
                           Assistant Attorneys General

                       Christopher G. Wells
                       Chief, Public Interest Division
                       Amy Meek
                       Chief, Civil Rights Bureau
                       Mary Grieb
                       Deputy Chief, Civil Rights Bureau
                       Stefanie L. Steines
                       Senior Assistant Attorney General
                       Office of the Illinois Attorney General
                       100 W. Randolph St.
                       Chicago, IL 60604
                       (312) 814-3000




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